DeMarco•Mitchell,
   Case 23-40703     PLLC Doc 8   Filed 04/25/23 Entered 04/25/23 16:38:09         Desc Main
Robert T. DeMarco                   Document     Page 1 of 14
Michael S. Mitchell
1255 West 15th St., 805
Plano, TX 75075
T 972-578-1400
F 972-346-6791

                           IN THE UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 IN RE:                                           Case No.:     23-40703

 Saibaba Hotels, LLC,                             Chapter:      11
 XX-XXXXXXX
 7417 Hidden Cove Lane
 Frisco, TX 75034

                                       Debtor.

                              DEBTOR’S MOTION FOR AUTHORITY TO
                         PAY CERTAIN PREPETITION WAGE AND TAX CLAIMS

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          Comes now, Saibaba Hotels, LLC, debtor in possession in the above-styled and numbered

case (“Debtor”) and files this Debtor’s Motion for Authority to Pay Certain Prepetition Wage and

Tax Claims (“Motion”) by and through the undersigned attorney. The facts and circumstances

supporting this Motion are set forth in the concurrently filed Declaration of Anuradha Puligundla

in Support of First Day Motions (“First Day Declaration”). In further support of this Motion the

Debtor respectfully avers as follows

                                       I.        JURISDICTION

          1.     The Court has jurisdiction over the subject matter of this Motion pursuant to 28

U.S.C. §1334(b) and the standing order of reference of the District Court. This matter is a core

proceeding. 28 U.S.C. §§ 157(b)(1), (b)(2)(M).

          2.     Venue in this Court is proper under 28 U.S.C. §§ 1408 and 1409.

          3.     The bases for the relief requested herein are sections 105(a), 363(b)(1) and

507(a)(4) of title 11 of United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”).
  Case 23-40703          Doc 8     Filed 04/25/23 Entered 04/25/23 16:38:09            Desc Main
                                     Document     Page 2 of 14



                                         II.      BACKGROUND

        4.      This bankruptcy case was commenced by the filing of voluntary petitions for relief

under Chapter 11 of the Bankruptcy Code on November 8, 2022 (the “Petition Date”).

        5.      Scott Seidel has been appointed as the Subchapter V Trustee.

        6.      Information regarding the Debtor’s history and business operations, capital

structure and primary secured indebtedness, and the events leading up to the commencement

of these bankruptcy cases can be found in the First Day Declaration, which is incorporated herein

by reference.

                            III.    FACTS SPECIFIC TO RELIEF REQUESTED
                                      A.     Employee Payroll

        7.      The Debtor employs approximately 10 persons. The employees were paid through

and including April 15, 2023. As such, as of the Petition Date, April 24, 2023, the Debtor’s

employees were not paid for the period of April 16, 2023, through and including April 24, 2023

(“Prepetition Payroll”).

        8.      The total GROSS Prepetition Payroll (defined in the Motion) due and owing as of

the Petition Date is as follows:

 Debtor                                                Amount
 Saibaba Hotels, LLC                                   $4,347.38


        9.      The Debtor needs to continue to pay the wages due and owing its employees on

a timely basis. The granting of such relief is in the best interest of the estate.

        10.     The Prepetition Payroll is substantially less than the per creditor limits set forth in

11 U.S.C. § 507(a)(4).




 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims                  Page 2
  Case 23-40703          Doc 8     Filed 04/25/23 Entered 04/25/23 16:38:09          Desc Main
                                     Document     Page 3 of 14



        11.     The next scheduled payroll date for the Debtor is November 14, 2022.

        12.     The Debtor needs to continue to pay the wages and distributions due and owing

its employees on a timely basis. The granting of such relief is in the best interest of the

bankruptcy estates.

                                    B.       Payroll Tax Obligations

        13.     In connection with the aforementioned payroll, the Debtor has incurred certain

tax obligations.

        14.     The Debtor is current on its tax obligations, but for the referenced payroll.

        15.     The Debtor estimate its tax obligations in connection with the subject payroll is as

follows:

 Debtor                                                Amount
 Saibaba Hotels, LLC                                   $340.62


        16.     Attached hereto as Exhibit “A” and incorporate herein by this reference is a detail

of the foregoing payroll and tax amounts.

                                       IV.     RELIEF REQUESTED

        17.     By this Motion, the Debtor requests the entry of an order pursuant to Sections

105(a), 363(b)(1) and 507(a)(4) of the Bankruptcy Code authorizing, but not requiring, the Debtor,

in accordance with its stated polices and in its ordinary course, to immediately pay or otherwise

honor the Debtor’s prepetition wage and tax obligations.




 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims                   Page 3
  Case 23-40703          Doc 8     Filed 04/25/23 Entered 04/25/23 16:38:09         Desc Main
                                     Document     Page 4 of 14



                                        VI.     BASIS FOR RELIEF

                                       A.      Prepetition Payroll

        18.     It is well established that a bankruptcy court may authorize the payment of pre-

petition wages and benefits when necessary. Payment of pre-petition wages, on an immediate

basis, is rooted in the “doctrine of necessity,” which doctrine, courts have consistently adopted

where the failure to do so would jeopardize the Debtor’s chance of reorganization.

        19.     Pursuant to section 105(a) of the Bankruptcy Code, "the court may issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title." 11 U.S.C. § 105(a). Section 105(a) codifies the bankruptcy court's inherent equitable

powers. See Marrama v. Citizens Bank of Mass., 127 S.Ct. 1105 (February 21, 2007)(Section 105

was relied upon heavily by the majority of the Court in ruling that there is no absolute right to

convert a chapter 7 bankruptcy case under § 706 of the Bankruptcy Code despite the clear textual

reading of the statute); In re Feit & Dexler, Inc., 760 F.2d 406 (2nd Cir. 1985).

        20.     The relief requested herein is supported by the well established "necessity of

payment" doctrine. See, In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 176 (Bankr. S.D.N.Y. 1989)

citing Miltenberger v. Logansport, C. & S. W. R. Co., 106 U.S. 286 (1882). The "necessity of

payment" doctrine "teaches no more than, if payment of a claim that arose prior to

reorganization is essential to the continued operation of the [business] during the reorganization,

payment may be authorized even if it is made out of corpus." In re Lehigh & New England Railway

Company, 657 F.2d 570, 581 (3rd Cir. 1981); see also Pension Benefit Guarantee Corporation v.

Sharon Steel Corp. (In re Sharon Steel Corp.), 159 B.R. 730, 736 (Bankr. W.D.Pa. 1993). Similarly,

the court in Ionosphere stated the "necessity of payment" doctrine "recognizes the existence of


 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims               Page 4
  Case 23-40703          Doc 8     Filed 04/25/23 Entered 04/25/23 16:38:09          Desc Main
                                     Document     Page 5 of 14



the judicial power to authorize a debtor in a reorganization case to pay prepetition claims where

such payment is essential to the continued operation of the debtor." Ionosphere, 98 B.R. at 176.

          21.   The Ionosphere case is of particular import to the case sub judice, since Judge

Lifland relied on his equitable powers under section 105 and, in particular, the "necessity of

payment" doctrine, to authorize the payment of wages, salaries, medical benefits and business

expenses to its then current employees. Ionosphere, 98 B.R. at 176. Judge Liffland recognized

that employee retention and positive morale were two critical factors to a successful

reorganization, which factors are enhanced when payroll is paid timely. Ionosphere, 98 B.R. at

176.

          22.   Accordingly, the “necessity of payment” doctrine authorizes the Debtor to pay the

amounts they seek authority to pay by this Motion. The Debtor believes that all amounts it seeks

to pay are entitled to priority claim status under section 507(a)(4) of the Bankruptcy code and

individually do not exceed the dollar limits set forth therein. As such, the Debtor will likely have

to pay all such claims in full to confirm a plan of reorganization. See 11 U.S.C. § 1129(a)(9)(B).

The relief requested herein, if granted, affects only the timing and not the amount for most such

claims.

          23.   If the Debtor misses payroll, many of the employees will face severe financial

hardship. Moreover, the Debtor believes that if it is unable to honor its payroll obligations

employee morale and loyalty will be jeopardized at a time when employee support is critical. The

loss of any employee or independent contractor has the potential to seriously jeopardize the

Debtor’s reorganization efforts.




 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims                Page 5
  Case 23-40703          Doc 8     Filed 04/25/23 Entered 04/25/23 16:38:09          Desc Main
                                     Document     Page 6 of 14



        24.     The payment of the amounts requested herein pursuant to the "necessity of

payment" doctrine is in the best interest of the Debtor and this estate. See Lehigh, 657 F.2d at

581.

        25.     Nothing contained herein shall constitute a request for authority to assume or

reject any agreements, policies or procedures relating to employee wages.

                             B.       Prepetition Payroll Tax Obligations

        26.     The Debtor submits that many, if not all, of the Taxes likely constitute “trust fund”

taxes which are required to be collected from third parties and held in trust for payment to the

appropriate taxing authority. See e.g. In re Al Copeland Enterprises, Inc., 133 B.R. 837 (Bankr.

W.D. Tex. 1991), aff’d, 991 F.2d 233 (5th Cir. 1993) (the debtor was obligated to pay Texas sales

taxes plus interest because such taxes were “trust fund” taxes). To the extent the Taxes are “trust

fund” taxes, they are not property of the bankruptcy estate pursuant to Section 541 of the

Bankruptcy Code. Begier v. I.R.S., 496 U.S. 53, 67 (1990) (“payments of trust fund taxes to the

IRS from its general accounts were not transfers of “property of the debtor,” but were instead

transfers of property held in trust for the Government....”); Equalnet Communications, Corp., 258

B.R. 368, 370 (Bankr. S.D.Tex. 2000) (“With respect to taxes, certain prepetition tax claims, such

as sales taxes, could be trust fund claims. Obviously the legal right to payment of such claims at

any time appears irrefutable.”). As such, the Debtor has no equitable interest in any such “trust

fund” Taxes.

        27.     Nonetheless, even if the Taxes do not constitute “trust fund” Taxes, the Debtor

believes that the payment of such Taxes is appropriate under Section 105(a) of the Bankruptcy

Code. Pursuant to Section 105(a) of the Bankruptcy Code, “[t]he court may issue any order,


 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims                Page 6
  Case 23-40703          Doc 8     Filed 04/25/23 Entered 04/25/23 16:38:09           Desc Main
                                     Document     Page 7 of 14



process, or judgment that is necessary or appropriate to carry out the provisions of this title.” 11

U.S.C. § 105(a).

        28.     The United States Supreme Court has authorized bankruptcy courts to use the

equitable powers granted in Section 105(a) to authorize the payment of certain prepetition

obligations where, as here, any nonpayment could harm the Debtor’s reorganization efforts.

NLRB v. Bildisco & Bildisco, 465 U.S. 513, 528 (1984) (section 105 empowers the bankruptcy court

to authorize the payment of prepetition obligations when such payments are necessary to

facilitate the rehabilitation of the debtor).

        29.     Numerous courts have used Section 105(a) to authorize payment of a debtor-in-

possession’s prepetition obligations where, as here, such payment is an essential element of the

preservation of the Debtor’s potential for rehabilitation. In re Just For Feet, Inc., 42 B.R. 821, 824

(D.Del.,1999); Equalnet Communications, 258 B.R. at 370; In re Synteen Technologies, Inc., 2000

WL 33709667, page 2 (Bankr. D.S.C. 2000) In re Ionosphere Clubs, Inc., 98 B.R. 174, 176

(Bankr.S.D.N.Y.1989)).

        30.     Without question, the payment of the Taxes is necessary to avoid administrative

difficulties. Withholding a Tax payment could cause the taxing and other authorities to take

precipitous action, including increased audits and lift stay motions necessitating much time and

attention of the Debtor and its counsel at the critical early stages of this Chapter 11 case.

        31.     Finally, most, if not all, of the Taxes are entitled to priority status under Section

507(a)(8) of the Bankruptcy Code. The payment of the prepetition portion of the Taxes at this

juncture more likely than not only affects the timing of the payment and not the amount to be




 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims                   Page 7
  Case 23-40703          Doc 8     Filed 04/25/23 Entered 04/25/23 16:38:09        Desc Main
                                     Document     Page 8 of 14



received by any Tax claim holders. Therefore, other creditors and/or parties-in-interest are not

prejudiced by the relief requested herein if granted.

                                   VII.     BANKRUPTCY RULE 6003

        32.     Bankruptcy Rule 6003 provides that the relief requested in this Motion may be

granted if the “relief is necessary to avoid immediate and irreparable harm.” Bankruptcy Rule

6003. Immediate and irreparable harm exists where the absence of relief would impair a debtor’s

ability to reorganize or threaten the debtor’s future as a going concern. See In re Ames Dep’t

Stores, Inc., 115 B.R. 34, 36 n.2 (Bankr. S.D.N.Y. 1990) (discussing the elements of “immediate

and irreparable harm” in relation to Bankruptcy Rule 4001(c)(2)). As set forth throughout this

Motion, any disruption of the current Cash Management System would substantially diminish or

impair the Restaurants’ efforts in these chapter 11 cases to preserve and maximize the going

concern value of their estates.

        33.     The Debtor respectfully submits Bankruptcy Rule 6003(b) has been satisfied and

the relief requested herein is necessary to avoid immediate and irreparable harm to the Debtor

and its bankruptcy estate.

                                   VIII.    BANKRUPTCY RULE 6004

        34.     The Debtor seeks a waiver of the notice requirements of Bankruptcy Rule 6004(a)

and the fourteen (14) day stay of any order authorizing the use, sale, or lease of property under

Bankruptcy Rule 6004(h) in light of the exigent nature of the relief requested herein.

        WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests the Court

authorize, but not require, the Debtor to pay or otherwise honor the Debtor’s pre-petition wage




 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims             Page 8
  Case 23-40703          Doc 8      Filed 04/25/23 Entered 04/25/23 16:38:09                 Desc Main
                                      Document     Page 9 of 14



and salary obligations; and for such other and further relief to which the Debtor may be justly

entitled.

                                                       Respectfully submitted,

 Dated: April 25, 2023                                 /s/ Robert T. DeMarco
                                                       DeMarco•Mitchell, PLLC
                                                       Robert T. DeMarco, Texas Bar No. 24014543
                                                       Email robert@demarcomitchell.com
                                                       Michael S. Mitchell, Texas Bar No. 00788065
                                                       Email mike@demarcomitchell.com
                                                       1255 W. 15th Street, 805
                                                       Plano, TX 75075
                                                       T        972-578-1400
                                                       F        972-346-6791
                                                       Proposed Counsel for Debtor and Debtor in
                                                       Possession

                                     CERTIFICATE OF CONFERENCE

       The undersigned counsel hereby certifies that, prior to the filing of this Motion, he
conferred with the following parties concerning their respective positions on the Motion:

                             Attorney                                               Position

 Marc Salitore, Assistant United States Trustee                      Does NOT Oppose

 Scott Seidel, Subchapter V Trustee                                  Left message at 11:45 a.m. No
                                                                     return call at time of filing.



 /s/ Robert T. DeMarco
 DeMarco•Mitchell, PLLC
 Robert T. DeMarco, Texas Bar No. 24014543
 Email robert@demarcomitchell.com
 Michael S. Mitchell, Texas Bar No. 00788065
 Email mike@demarcomitchell.com
 1255 W. 15th Street, 805
 Plano, TX 75075
 T        972-578-1400
 F        972-346-6791




 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims                        Page 9
  Case 23-40703          Doc 8      Filed 04/25/23 Entered 04/25/23 16:38:09           Desc Main
                                     Document     Page 10 of 14



                                        CERTIFICATE OF SERVICE

        The undersigned counsel herby certifies that true and correct copies of the foregoing
pleading and all attachments were served upon all parties listed below in accordance with
applicable rules of bankruptcy procedure on this 25th day of April, 2023. Where possible, service
was made electronically via the Court’s ECF noticing system or via facsimile transmission where
a facsimile number is set forth below. Where such electronic service was not possible, service
was made via regular first class mail.

                                                  DEBTOR

 Saibaba Hotels, LLC,
 7417 Hidden Cove Lane
 Frisco, TX 75034

                                                  TRUSTEES

 Office of the United States Trustee                   Scott Seidel (SBRA V)
 110 North College Avenue, Room 300                    Sub V Chapter Trustee
 Tyler, Texas 75702                                    6505 West Park Boulevard, 306
                                                       Plano, TX 75093

                                               SECURED LENDER


           ADDITIONAL PARTIES IN INTEREST AND/OR PARTIES REQUESTING NOTICE

                                         SEE ATTACHED MATRIX



 /s/ Robert T. DeMarco
 DeMarco•Mitchell, PLLC
 Robert T. DeMarco, Texas Bar No. 24014543
 Email robert@demarcomitchell.com
 Michael S. Mitchell, Texas Bar No. 00788065
 Email mike@demarcomitchell.com
 1255 W. 15th Street, 805
 Plano, TX 75075
 T        972-578-1400
 F        972-346-6791




 Debtor’s Motion for Authority to Pay Certain Prepetition Wage and Tax Claims               Page 10
                Case 23-40703     Doc 8   Filed 04/25/23 Entered 04/25/23 16:38:09         Desc Main
                                           Document     Page 11 of 14


Pay Period

Employee Name     Department                  Total Regular Hours   Gross Pay       Tax              Net Pay

Misty             Guest Service Agent         59.75                       $657.25           $58.30       $598.95

Felicia           Housekeeping                58.5                        $526.50          $40.27        $486.23

Kimberly          Housekeeping                49.25                       $443.25          $33.91        $409.34

DylaN             Guest Service Agent         48.25                       $530.75          $40.61        $490.14

Kacie             Housekeeping                57                          $570.00          $43.61        $526.39

Stephanie         Manager                     37.5                        $440.63          $33.71        $406.92

Tammy             Guest Service Agent         56.75                       $510.75          $39.08        $471.67

Tommie            Housekeeping                0                             $0.00           $0.00          $0.00

Tracie            House Keeping               62.25                       $560.25          $42.86        $517.39

Sherri            House Keeping               12                          $108.00           $8.27         $99.73


Totals                                                                  $4,347.38         $340.62      $4,006.76




                                            EXHIBIT "A"
                   Case 23-40703     Doc 8    Filed 04/25/23         Entered 04/25/23 16:38:09     Desc Main
Label Matrix for local noticing              ANAND SYSTEMS INC
                                                Document          Page 12 of 14          ATT
0540-4                                       35 E 10th St.                               208 S. Akard St.
Case 23-40703                                Tracy, CA 95376-4058                        Dallas, TX 75202-4295
Eastern District of Texas
Sherman
Tue Apr 25 14:29:03 CDT 2023
Anuradha Puligundla                          Attorney General of the United States       Booking.com
7417 Hidden Cove Ln.                         Main Justice Bldg., Rm. 5111                28 Liberty St FL 29
Frisco, TX 75034-0682                        10th & Constitution Ave. N.W.               New York, NY 10005-1499
                                             Washington, DC 20503-0001


Brightspeed                                  COMMUNITY COFFEE                            Couture Hotel Corporation
1120 South Tryon Street                      12120 Colonel Glenn Rd, Ste 2000            c/o Justin Strother
Charlotte, NC 28203-4244                     Little Rock, AR 72210-2838                  Strother Law Firm
                                                                                         3000 Weslayan St. Ste. 348
                                                                                         Houston, TX 77027-5753

DFW MOTEL SUPPLY TEXTILE                     DIRECTV SERVICE                             Robert DeMarco III
4220 Shilling Way                            2230 E Imperial Hwy Fl 10                   DeMarco-Mitchell, PLLC
Dallas, TX 75237-1023                        El Segundo, CA 90245-3502                   1255 West 15th St., 805
                                                                                         Plano, TX 75075-7225


EAST CEDAR CREEK WATER DIRECT                EAST CEDAR CREEK WATER DIRECT               Eco Lab
115 Hammer R.                                115 Hammer Rd,                              2305 Sherwin St.
Gun Barrel City, TX 75156-5220               Gun Barrel City, TX 75156-5220              Garland, TX 75041-1299



Expedia                                      Expedia Group                               FERRELL GAS LP
1111 Expedia Group Wy W                      1111 Expedia Group Way W.                   161 Eldorado Pkwy
Seattle, WA 98119-1111                       Seattle, WA 98119-1111                      McKinney, TX 75069



Henderson County Occupancy Tax               Henderson County Property Tax               Internal Revenue Service
125 N. Prairieville St., Suite 103           125 N. Prairieville St., Suite 103          Central Insolvency Operations
Athens, TX 75751-2070                        Athens, TX 75751-2070                       PO Box 7346
                                                                                         Philadelphia, PA 19101-7346


Internal Revenue Service                     Kaufman County Property Tax                 Level3 Communications
Centralized Insolvency Operations            P.O. Box 339                                1025 ELDORADO BLVD.
PO Box 7346                                  Kaufman, TX 75142-0339                      Broomfield, TX 80021-8254
Philadelphia, PA 19101-7346


Level3 Communications                        Muni Services LLC                           NEW CARBON B TO B
1025 ELDORADO BLVD.                          TX Hotel Occupancy Tax                      4101 William Richardson Drive
Broomfield, CO 80021-8254                    PO Box 830725                               South Bend, IN 46628-9485
                                             Birmingham, AL 35283-0725


Office of the Attorney General               Office of the United States Trustee         PS PAY, INC
Bankruptcy-Collections Division              110 N College Ave Ste 300                   6500 Greenville Ave 515
Po Box 12548                                 Tyler, TX 75702-7231                        Dallas, TX 75206-1027
Austin, TX 78711-2548
                   Case 23-40703           Doc 8      Filed 04/25/23         Entered 04/25/23 16:38:09              Desc Main
Pilgrim Bank                                         REPUBLIC SERVICES TRASHPage 13 of 14
                                                        Document                                          Ramakrishna Krothapalli
2401 South Jefferson Ave.                            801 E College Street                                 7417 Hidden Cove Lane
Mount Pleasant, TX 75455-5960                        Lewisville, TX 75057-4077                            Frisco, TX 75034-0682



SHIFT4                                               Saibaba Hotels, LLC                                  Marcus Salitore
2202 N Irving St.                                    7417 Hidden Cove Lane                                US Trustee Office
Allentown, PA 18109-9554                             Frisco, TX 75034-0682                                110 N. College Ave., Room 300
                                                                                                          Tyler, TX 75702-7231


Sonesta Intl.                                        TACS                                                 TARA ENERGY
400 Centre St.                                       5420 LBJ Freeway, Suite 900                          PO Box 301438
Newton, MA 02458-2094                                Dallas, TX 75240-6284                                Dallas, TX 75303-1438



TKELEVATOR CORP                                      Texas Alcoholic Beverage Commission                  (p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
4355 Excel Pkwy, Ste 800                             License and Permits Division                         REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION
Addison, TX 75001-5605                               Po Box 13127                                         PO BOX 13528
                                                     Austin, TX 78711-3127                                AUSTIN TX 78711-3528


Texas State Comptroller                              Texas Workforce Commission                           Texas Workforce Commission
Texas Attorney General                               101 E. 15th Street, Rm 556                           TEC Building - Bankruptcy
PO Box 12548                                         Austin, TX 78778-0001                                101 E 15th St
Austin, TX 78711-2548                                                                                     Austin, TX 78778-1442


U.S. Attorney General                                (p)HUD OGC REGION VI                                 U.S. Dept. of Veterans Affairs
Department of Justice                                TIMOTHY E FEELEY                                     Regional Office, Finance Section (24)
Main Justice Building                                307 W SEVENTH ST SUITE 1000                          701 Clay Ave
10th & Constitution Ave., NW                         FT WORTH TX 76102-5108                               Waco, TX 76799-0001
Washington, DC 20530-0001

U.S. Securities & Exchange Comm.                     U.S. Small Business Administration                   US Trustee
Fort Worth Regional Office                           150 Westpark Way Ste 130                             Office of the U.S. Trustee
801 Cherry St Ste 1900 Unit 18                       Euless, TX 76040-3705                                110 N. College Ave.
Fort Worth, TX 76102-6819                                                                                 Suite 300
                                                                                                          Tyler, TX 75702-7231

United States Attorney                               Williams Pest Control
110 North College Ave. Ste. 700                      1428 S 3rd St.
Tyler, TX 75702-0204                                 Mabank, TX 75147-7580




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Texas Comptroller of Public Accounts                 U.S. Department of HUD
Bankruptcy Section                                   307 W. 7th Street Suite 1000
Po Box 13528                                         Fort Worth, TX 76102
Austin, TX 78711-3528
                   Case 23-40703           Doc 8      Filed 04/25/23 Entered 04/25/23 16:38:09                      Desc Main
                                                       Document     Page 14 of 14

                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)ANAND SYSTEMS INC                                 (d)ATT                                               (d)Booking.com
35 E 10th St.                                        208 S. Akard St.                                     28 Liberty St FL 29
Tracy, CA 95376-4058                                 Dallas, TX 75202-4295                                New York, NY 10005-1499



(d)Brightspeed                                       (d)COMMUNITY COFFEE                                  (d)DFW MOTEL SUPPLY TEXTILE
1120 South Tryon Street                              12120 Colonel Glenn Rd, Ste 2000                     4220 Shilling Way
Charlotte, NC 28203-4244                             Little Rock, AR 72210-2838                           Dallas, TX 75237-1023



(d)DIRECTV SERVICE                                   (d)Eco Lab                                           (d)FERRELL GAS LP
2230 E Imperial Hwy Fl 10                            2305 Sherwin St.                                     161 Eldorado Pkwy
El Segundo, CA 90245-3502                            Garland, TX 75041-1299                               Mckinney, TX 75069



(d)Muni Services LLC                                 (d)NEW CARBON B TO B                                 (d)PS PAY, INC
TX Hotel Occupancy Tax                               4101 William Richardson Drive                        6500 Greenville Ave 515
PO Box 830725                                        South Bend, IN 46628-9485                            Dallas, TX 75206-1027
Birmingham, AL 35283-0725


(d)REPUBLIC SERVICES TRASH                           (d)SHIFT4                                            (d)Sonesta Intl.
801 E College Street                                 2202 N Irving St.                                    400 Centre St.
Lewisville, TX 75057-4077                            Allentown, PA 18109-9554                             Newton, MA 02458-2094



(d)TKELEVATOR CORP                                   (d)Tara Energy                                       End of Label Matrix
4355 Excel Pkwy, Ste 800                             P.O. Box 301438                                      Mailable recipients     52
Addison, TX 75001-5605                               Dallas, TX 75303-1410                                Bypassed recipients     17
                                                                                                          Total                   69
